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the blades. Erosion patterns were also evident on the back surface of the starboard block.
These erosion markings indicate an additional flow path around the backside of the
blocks (see Figure 14 (b)).

6.2.1.3 Upper Variable Bore Ram Blocks

The Upper Variable Bore Ram Blocks (VBRs) in the as-recovered condition are shown in
Figure 16 and Figure 17. Figure 18 and Figure 20 show the Upper VBRs following
collection of viscous materials and any solid materials/objects and cleaning. Figure 19
and Figure 21 show the segments from the starboard and port side upper VBR,
respectively, All segments were eroded to some degree.

(a) Top View oe b) Bottom View

(c) View of Segments

Figure 16 Starboard Side Upper VBR in the As-Recovered Condition

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(c}) View of Segments

Figure 17 Port Side Upper VBR in the As Recovered Condition

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(c) Front View of Segment Cavity (Some Segments Removed)

Figure 18 Starboard Side Upper VBR Following Cleaning (Segments Removed)

Choke > Kill

Figure 19 Starboard Segments from Upper VBRs Following Cleaning.

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(a) Top View ~_(b) Bottom View

Figure 21 Port Segments from Upper VBRs Following Cleaning. (Segment 1
Remained in Ram)

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Both the starboard and port side upper VBR blocks exhibited erosion on the block
surfaces and the segments. The erosion on the blocks occurred predominantly in the
portion of the ram packer cavity where the segments fit and on the front block face
directly above and below the segments. The elastomer on the side packers was
approximately 60% missing on the starboard side VBR block and 25% missing on the
port side VBR block. All of the elastomer associated with the segments was missing.

6.2.1.4 Middle Variable Bore Ram Blocks

The Middle Variable Bore Ram Blocks (VBRs) in the as-recovered condition are shown
in Figure 22 and Figure 23. Figure 24 and Figure 26 show the Middle VBRs following
collection of viscous materials and any solid materials/objects and cleaning. Figure 25and
Figure 27 show the segments from the starboard and port side upper VBR, respectively.

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(c) View of Segments

Figure 22 Starboard Side Middle VBR As-Recovered Condition

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(b) Bottom View

{c) View of Segments

Figure 23 Port Side Middle VBR As-Recovered Condition

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(c) Front View of Segment Cavity (Segments Removed)

Figure 24 Starboard Side Middle VBR Following Cleaning

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(c) Front View of Segment Cavity (Segments Removed)

Figure 26 Port Side Middle VBR Following Cleaning

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Choke > Kill

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Figure 27 Port Segments from the Upper VBRs Following Cleaning

Both the starboard and port side middle VBR blocks exhibited erosion on the block
surfaces and the segments. The erosion on the blocks occurred predominantly in the
portion of the ram packer cavity where the segments fit and on the front block face
directly above and below the segments. The degree of erosion on the block face was less
than on the upper VBR block. The elastomer on the side packers was approximately 90%
missing on the starboard side VBR and 75% missing on the port side VBR. All of the
elastomer associated with the segments was missing. The skid pad from the port block
kill side is missing. The screws holding the pad in place appear to have been sheared.

6.2.1.5 Lower Variable Bore Ram Blocks

The Lower Variable Bore Ram Blocks (VBRs) in the as-recovered condition are shown
in Figure 28 and Figure 29. Figure 30 and Figure 32 show the Lower VBRs following
collection of viscous materials and any solid materials/objects and cleaning. Only one
segment was still present in the starboard ram block (Kill side).

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(c) Front View (Segment Cavity)

Figure 28 Starboard Side Lower VBR in the As-Recovered Condition

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(a Bottom View

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nt View (Segment Cavity}

Figure 29 Port Side Lower VBR in the As-Recovered Condition

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(a) Top View (b) Bottom View

(c) Front View (Segment Cavity)

Figure 30 Starboard Side Lower VBR Following Cleaning

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Figure 31 Starboard Segment from the Lower VBR Following Cleaning

(a) Top View

(c) Front View (Segment Cavity)

Figure 32 Port Side Lower VBR Following Cleaning

Both the starboard and port side lower VBR blocks exhibited erosion on the block
surfaces. The erosion on the blocks occurred predominantly in the portion of the ram
packer cavity where the segments fit and on the front block face directly above and below
the segments. All segments were missing except one segment in the starboard side lower
VBR block.. The elastomer on the side packers was approximately 10% missing on both
the starboard side and port side middle VBR blocks. All of the elastomer associated with
the segments was missing.

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6.2.2 Three-Dimensional Laser Scanning of Ram Blocks

Three-dimensional iaser scanning provided a means of characterizing surfaces in a
quantitative manner and permitted ease of orientation of complex surfaces. Figure 33and
Figure 34 show that significant erosion occurred on the upper and lower BSR blocks. In
order to quantify the erosion damage to the BSR blocks, the laser scan models were
compared with generic CAD models depicting the unworn nominal geometry for the
upper and lower BSR blocks. A contour surface plot of the deviation between the
recovered blocks and the CAD model was developed.

Figure 33 (b) and (c) show an overlay comparison for the upper BSR biock with the laser
scan model of the recovered BSR block shown as a deviation plot while the CAD model
is overlaid as translucent and outlined. The blue color indicates material loss. Yellow
indicates no material loss. Red indicates a positive deviation related to variations in
recovered ram blocks associated with tolerances for the nominal geometry of the generic
CAD model. There was more damage to the kill side of the upper BSR block than the
choke side (Figure 33 (b) compared to (c)). The elastomer on the side packers was
completely missing and much of the metallic side packer components was eroded away.

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(a) Laser Scans of Upper BSR Block

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(b) Deviation Plot - Kill Side View ‘(c) Deviation Plot - Choke Side View

Figure 33 Three-Dimensional Laser Scan of Starboard-Side (Upper) BSR Block

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(a) Laser Scan of Lower BSR Block

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(c) Bottom View — Kill Side (d) Top View — Choke Side

Figure 34 Three-Dimensional Laser Scan of Port-Side (Lower) BSR Block

Figure 34 shows that erosion occurred on both the top and bottom surfaces of the lower
BSR blade. This erosion was particularly deep on the bottom surface on the kill-side of
the blade (Figure 34 (b)) and on the top surface on the choke-side on the blade

(Figure 34 (c)).

Figure 35 shows the upper and lower BSR blocks in the fully closed position. Based on
the visual examination performed on site following recovery, the upper and lower BSR
blocks exhibited metal-to-metal contact in multiple locations. As previously noted, the
elastomer on the side packers and rear seals was missing allowing the metal-to-metal
contact observed.

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Figure 35 Three-Dimensional Laser Scan of BSRs Placed Together in the Closed
Position

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Figure 37 Three-Dimensional Laser Scan of Port-Side (Upper) CSR

Figure 36 and Figure 37 show the erosion on the CSRs. Significant erosion is observed
on the bottom face of the upper CSR block (Figure 37). There is additional erosion on the
top face of the Lower CSR (Figure 36) indicating the flow path out of the pipe impinging
on the bottom face of the Upper CSR, flowing between the blades, and out across the top
face of the Lower CSR. The CSR is not designed to seal (no side packers or seals for the
blades) and there are relatively large gaps for fluid flow around the blades, ram cavities,
and wellbore region of the CSR. Because there are not significant restrictions to fluid

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flow, the total amount of erosion damage on the CSR is relatively small compared to the
BSR.

6.2.3 Visual Examination of Drill Pipe

6.2.3.1 Location of Recovered Drill Pipe

Drill pipe was recovered from the LMRP, BOP, and Riser. Table 17 gives the length and
description of the drill pipe segments recovered. Figure 38 shows a schematic diagram
depicting the locations within the BOP stack and Riser from which the drill pipe
segments were recovered.

Table 17 Evidence Item Numbers for Recovered Drill Pipe

Item | Length

No. (inch) Description of Segments of Drill Pipe

1-A-1 | 551.16 | Recovered from the Riser at the USCG evidence yard above the kink.
Recovered from the LMRP at the Michoud Facility with the top end
39 | 137.25 | protruding ~6-inches above the VA

Recovered from the Riser at the USCG evidence yard above the kink
1-B-1 | 111.72 | Gincludes tool joint).

Recovered from the Riser at the USCG evidence yard between the
1-B-2 | 30.48 | kink and the intervention shear.

84 7.50 | Recovered from the LMRP on the Q-4000 resting on top of the UA

Recovered from the LMRP on the Q-4000 inside the flex joint with
83 111.60 | the bottom end resting on the UA

Recovered from the BOP at the Michoud Facility between the BSR
94 42.00 | and CSR

Recovered from the BOP at the Michoud Facility between the CSR
148 | 142.25 | and Lower VBR

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Fuser Kink (55.26 fi}
Intervention Shear

Riser Adapter

Flex doing (0 errr rrr ect errr entree eecenens

Upper Annular Preventer

Lower Annular Preventer

‘ibe

Blind Shear Rams

Casing Shear Rams

Middle VBR 00 -7-vo--20-00e20-2-

Test (Lower) ¥BR.

Top of Wellhead Connector

Tool Join

ML. 35358
*

- 21.00

vere ee LAGE

Drill Pipe Section

re

931 FL

re

2.54

0,63 fl

83

4304

9

UL.44 ft

3.50 ft

11.85 ft

Figure 38 Schematic Diagram of Positions from which Drill Pipe was Recovered

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